
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00132-CR


______________________________




JESSIE WILLIAM CALDWELL, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 124th Judicial District Court


 Gregg County, Texas


Trial Court No. 35047-B




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Jessie William Caldwell appeals from his conviction on his open plea of guilty to the state
jail felony offense of theft over $1,500.00, less than $20,000.00.  See Tex. Penal Code Ann.
§&nbsp;31.03(e)(4)(A) (Vernon Supp. 2008).  The trial court sentenced Caldwell to twelve months'
confinement and ordered restitution of $2,639.88.  Caldwell was represented by different, appointed,
counsel at trial and on appeal.  Caldwell's attorney has filed a brief in which he concludes that the
appeal is frivolous and without merit, after a review of the record and the related law.

	Counsel states that he has studied the record and finds no error preserved for appeal that
could be successfully argued.  The brief contains a professional evaluation of the record and
advances one arguable ground for review.  This meets the requirements of Anders v. California, 386
U.S. 738 (1967); Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991); and High v. State, 573
S.W.2d 807 (Tex. Crim. App. [Panel Op.] 1978).

	Counsel mailed a copy of the brief to Caldwell on November 24, 2008, informing Caldwell
of his right to examine the entire appellate record and to file a pro se response.  Counsel
simultaneously filed a motion with this Court seeking to withdraw as counsel in this appeal.  No
pro&nbsp;se response, nor extension of time in which to file such a response, has been filed. 

	We have determined that this appeal is wholly frivolous.  We have independently reviewed
the clerk's record and the reporter's record, and we agree that no arguable issues support an appeal. 
See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).

	We affirm the judgment of the trial court. (1)



						Josh R. Morriss, III

						Chief Justice


Date Submitted:	January 28, 2009

Date Decided:		January 30, 2009


Do Not Publish



1. Since we agree this case presents no reversible error, we also, in accordance with Anders,
grant counsel's request to withdraw from further representation of Caldwell in this case.  No
substitute counsel will be appointed.  Should Caldwell wish to seek further review of this case by
the Texas Court of Criminal Appeals, Caldwell must either retain an attorney to file a petition for
discretionary review or Caldwell must file a pro se petition for discretionary review.  Any petition
for discretionary review must be filed within thirty days from the date of either this opinion or the
last timely motion for rehearing that was overruled by this Court.  See Tex. R. App. P. 68.2.  Any
petition for discretionary review must be filed with this Court, after which it will be forwarded to
the Texas Court of Criminal Appeals along with the rest of the filings in this case.  See Tex. R. App.
P. 68.3.  Any petition for discretionary review should comply with the requirements of Rule 68.4 of
the Texas Rules of Appellate Procedure.  See Tex. R. App. P. 68.4.


ack Carter
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
&nbsp;
Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;April 10, 2006
Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;June 6, 2006

Do Not Publish



